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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

MOTOCICLETTA, INC. §
VS. § CASE NO. 4:17-cV-728
PHILADELPHIA INDEMNITY §
INSURANCE COMPANY §
ON REMO VAL FROM'

CAUSE NO. 348-294057-17

MOTOCICLETTA, INC. IN THE DISTRICT COURT

PHILADELPHIA INDEMNITY

§
§
VS. § TARRANT COUNTY, TEXAS
§
§
INSURANCE CGMPANY §

348TH JUDICIAL DISTRICT '
EXHIBIT 4

Documents Filed in State Court

 

IndeX

 

Document Filed

 

A Plaintiffs Original Petition 8/22/ 17

 

B Defendant Philadelphia Indemnity

Insurance Company’S Original AnSWer 9/5/17

 

C Defendant Philadelphia Indemnity
Insurance Company’S Notice of Removal to 9/7/ 17
Federal Court

 

 

 

 

 

 

ALL EXECUTED PROCESS

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EXHIBIT A

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CAUSE NO?‘“"”"°W°17 THoMAs A. wu.oER
“__`_~“ oisTRicT cLERK
MOTOCICLETTA. INC, § IN THE DlSTRICT COURT
§
Plaintij,` §
§
VS. § TARRANT COUNTY, TEXAS
' §
PHILADELPHIA INDEMNITY INSURANCE §
COMPANY, §
' §
De_fendant § JUDICIAL DISTRICT

 

PLAINTIFF’S ORlGlNAL PETl'l`ION

MOTOCICLETTA, INC. files this suit for damages against PHILADELPHIA
INDEMNITY INSURANCE COMPANY for negligence, breach of an insurance contract, bad
faith and Violations of'l`exas Deceptive Trade Practices Act and in support hereof would show the
Court and .l ury:

L
DtscovERY CoNTRoi. PL,\N

l. Dlscovery in this suit shall be according to a “Level 3” discovery control order,

pursuant to Texas Rule of Civil Procedure 190.4.
1_1_.
' .PA_R_'LLE_§

2. MOTOCICLETTA, INC. (“Plaintift”) is a Texas Corporation. Plaintiff is the
owner of a commercial property located at 2350 William D. Tate Avenue, Grapevine, Texas
76051.

3. PHILADELPHIA INDEMNITY INSURANCE COMPANY is a Pennsylvania

insurance company licensed to write property and casualty insurance in the State of Texas by the

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Texas Department of`lnsurance. This Defendant can be served with citation by serving its
registered agent via certified mail in accordance with the Texas Rules of Civil Procedure as

follows: CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

ll.

VENuEANDJuRmDKnWoN

 

5. Venue is proper in Tarrant County as the Plaintiff owns, and the Def`endants have
insured, the property made the basis of this suit which is located in 'I`arrant Cotmty, Texas. Further,
all or a substantial part of the events or omissions giving rise to this claim occurred in Tarrant
County, Texas.

6. Pursuant to 'l`exas Rule of Civil Procedure 47, Plaintiff` sues for monetary relief
over $200,000.00 but not in excess of $1,000,000.00.

_IL
BACKGRouNoFAcTs

7. Plaintiffis the owner of a commercial property located at 2350 William D. Tate
Avenue, Grapevine, Texas 76051 (the “Property”).

8. The Property was insured by Defendant under Cornmercial Lines Policy No.
PHPK!362101 (the “Policy") and in eiTect during all periods relevant hereto.

9. in April and May 0t`2016 (specified date of loss May 26. 2016) the Property was
hit by a series of hailstorms and a particularly large hailstorm on May 26, 2016 in which the
Property sustained heavy roof and structural damage After Plaintiff discovered the hail, wind and

storm damage, Plaintiff notified Defendants about this loss.

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lO. Defendant hired Vericlaim, Inc. to adjust the loss. Vericlaim, in turn, hired ProNet
Group, Inc. to examine the Property and determine a probable date ot` loss. ProNet examined the
property and opined that the damage to the roof occurred during hail storms in 201 l which were
conveniently outside of the Policy period for coverage by Defendant. By employing this strategy

to blame the 201 l storms in the 2016 adjustment, Defendant completely denied Plaintiff"s claim

and offered not even a partial payment for damage which may have been reasonably attributable __ _ ,, _ ..

to the 2016 storm. By employing this strategy, Defendant failed and refused to pay Plaintiff for
the damages caused during the 2016 policy period. This failure to pay for the damages sustained
during the policy periods is a breach of the terms of the Policy. l

ll. Defendant failed and refused to pay Plaintift` an appropriate amount for losses and
damages caused to Plaintift’s property.by an occurrence covered under their contract of insurance

_Y_.
FIRST CAUSE OF ACTION-BREAC_H OF CON'I`RACT

12. Plaintiff contracted with Defendant for property and casualty insurance on the
Property made the basis of this lawsuit. As part of the contract for insurance, Plaintiff paid the
Defcndant premiums as required under the terms of the Policy. Defendants agreed to “pay for
direct physical loss ofor damage to Covered Property at the premises described in the Declarations
caused by or resulting in a Covered Cause oi`Loss." 'I`he damage to the Plaintift`s building was
the type covered by the contract for insurance

13. Defendant breached the contract for insurance in one or more of the following

ways:

(a) Failing to pay full benefits due in a timely manner in accordance with the terms of

the Policy;

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(b) Failing to provide a reasonable explanation of the basis for denying the claim; and

(c) Failing to promptly.and equitably pay the claim once liability had become
reasonably clear.

14. This breach of contract by the Defendant is a proximate cause of the damages

suffered and to be suffered in the future by Plaintiff, for which Plaintiff now sues.
yL
SECOND CAUSE OF ACTlON-NEGL}GENCE

15. Defendant owed a duty to Plainti ff to adjust the claim and pay the loss in accordance
with the standards in the insurance industry.

16. . Defendants breached its duty to Plaintiff in one or more of the following ways:

(a) failing to properly investigate the claim;

(b) Failing to properly adjust the claim;

(c) Failing to’pay the claim in a timely manner.

17. These acts or omissions by the Defendant, singularly or in any combination, are a
proximate cause of the damages suffered and to be suffered in the future by Plaintiff, for which

Plainti ff now sues.

Vll.

THIRD CAUSE OF ACTION~BREACH OF GOOD FAI'I`H AND FAIR I)EALING

18. F rom and after the time the Plaintiff’s claim was presented to Defendant, it‘s liability
to pay the claim in accordance with the terms ofthe Policy was reasonably clear. Despite there being
no basis on which a reasonable insurance company would have relied to deny payment of Plaintiff’s
claim, Defendant refused to accept the claim and pay Plaintiff.

19. At that time, Defendant knew or should have known by the exercise of reasonable

diligence that its liability was reasonably clear. In this regard, Plaintiff will show that Defend`ant

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failed to conduct a reasonable, proper investigation of the claim and refused to rely on the true facts,
resorting instead to producing faulty, incomplete, and biased reasons as subterfuges to avoid paying
or partially paying a valid claim.

20. Consequently, Defendant breached their duty to deal fairly and in good faith with the
Plaintiff. Defendant’s breach was a proximate cause of the losses, expenses, and damages suffered
by the Plaintiff as more specifically described below. Thcse losses include a separate and distinct
measure of damages which would not have been incurred but for the Bad Faith committed by
Defendant.

24. Plaintiff seeks exemplary damages in an amount to be assessed by the trier of fact
caused by Defendant’s bad faith.

VIII.

FOURTH CAUSE OF ACTlON
DECEPT!VE TRADE PRACT[CES

 

25. Plaintiff would show that Defendant engaged in certain false, misleading and
deceptive acts, practices andfor omissions actionable under the Texas Deceptive Trade Practices -
Consumer Protection Act (Texas Business and Commerce Code, Chapter 17.41, Ls§_g.), as alleged
herein below.

26. Violan`ons of Section 17.46(b). Defendant violated Section 17.46(b) of the Texas
Business and Commerce Code. Specifically, Defendant:

(a) represented that goods or services have sponsorship, approval, characteristics
ingredients, uses, benefits, or quantities which they do not have;
(b) represented that goods or services were of a particular standard, quality, or
grade, or that goods were ofa particular style or model, if they are of another;
(d) represented that an agreement con fers or involves rights, remedies, or
obligations which it does not have or involve, or which are prohibited by law.
(e) failed to disclose information concerning goods or services which was known

at the time of the transaction when such failure to disclose such information was intended to induce

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the consumer into a transaction into which the consumer would not have entered had the information
been disclosed.

27. Unconscionable Action or Course of Action. Defendant engaged in an
"unconscionable action or course of action" to the detriment of Plaintiff as that term is defined by
Section 17.45(5) of the Texas Business and Commerce Code, by taking advantage of the lack of

knowledge, abi lity, experience, or capacity of Plaintiff to a grossly un fair degree

lX.

FIFTH CAUSE OF ACTION
VlOLATIONS OF THE TEXAS INSURANCE CODE

28. Defendant engaged in unfair claim settlement practices prohibited by Section 541 .060
of the Texas Insurance Code. Specifically, Defendant:

(a) misrepresented to Plaintiff a material fact or policy provision relating to coverage at

issue;

(b) failed to attempt in good faith to effectuate a prompt, fair, and equitable settlement of

Plaintift`s claim even though Defendants‘ liability had become reasonably clear; and/or

(c) failed to promptly provide to Plaintiff a reasonable explanation of the basis in the

policy, in relation to the facts or applicable law, for the Defendants’ denial of a claim or offer

of a compromise settlement of a claim.

(d) retirsed to pay Plaintiff‘s claim without conducting a reasonable investigation with

respect to the claim.

29. Plaintiff would show that the acts, practices and/or omissions complained of were the
producing cause of Plaintiff‘s damages more fully described herein below.

30. Plaintiff would further show the acts, practices and/or omissions complained of under

Section l7.46(b) ofthe Texas Business and Commerce Code and Chapter 541 of the Texas Insurance

Code were relied upon by Plaintiff to Plaintift‘s detriment

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Dlscovr;RY
31. Pursuant to Tex.R.Civ.P. 194, Defendant is requested to disclose within fifty (50)
days of service of this request, the information or material described in 'I`ex.R.Civ.P. 194.2,
§
CONDITIONS PRECEDENT
32. By letter dated June;l: ‘2017, Plaintiff gave Notice as required under the Texas
Deceptive Trade Practices Act (Texas Business & Commerce Code Section 17.45 et seq) and the
Texas insurance Code Sections 541 and 542 et seq. All other conditions precedent to filing suit
have been met, including Plaintist payment of the insurance premium to Defendant.
§

PRAVER

33. For these reasons, Plaintiff asks that Defendant be cited to appear and answer, and
that upon final trial, Plaintiff have judgment against Defendant for:

(a) Actual damages;

(b) Reasonable and necessary attorney’s fees;

(c) Extra-contractual damages for Defendant‘s violations of the Texas Insurance Code

and the Texas Insurance Code including exemplary and punitive damages for
knowing violations:

(c) Pre~judgment and post-judgment interest as allowed by law;

(d) Costs of court;

(e) All other relief, at law or in equity, to which Plaintiff may be entitled

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nw

Resp'ectfully submitted,

/s/Timothy M. Hoch
Timothy M. Hoch

Texas Bar No. 09744950

HOCH LAW FIRM, P.C.
5616 Malvey Avenue

Fort Worth, Texas 76107
(817)731-9‘703
(817)731-9706 - facsimile

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EXHIBIT B

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348-294057-17 FlLED
TARRANT COUNTY
9/5/2017 4:25 PM
THOMAS .W|L R
CAUSE NO. 348-294057_17 D,STRQTCL'§§K
MOTOCICLETTA, INC., § IN THE DISTRICT COURT
§
Plaintiff, §
§
Vs. § TARRANT coUNTY, TEXAS
§
PHILADELPHIA INDEMNITY §
INSURANCE cOMPANY, §
§
Defendant. § 348 JUDICIAL DISTRICT

DEFENDANT’S ORIGINAL ANSWER
TO THE HONORABLE JUDGE OF THIS COURT:

Philadelphia Indemnity Insurance Company, the Defendant in the
above-styled and numbered cause (“Defendant”), files this Original Answer in

response to Plaintiff’s Original Petition, and respectfully shows the Court as follows:

I.
GENERAL DENIAL

As permitted by Rule 92 of the Texas Rules of Civil Procedure, Defendant
enters a general denial of all the matters pled by Plaintiff, Motocicletta, Inc.
(“Plaintiff’), and requests that the Court require Plaintiff to prove all of its charges
and allegations by a preponderance of the evidence as required by the Constitution

and laws of the State of Texas.

 

DEFENDANT’S ORIGINAL ANSWER PAGE 1
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II .
AFFIRMATIVE DEFENSES

By way of affirmative defense, if the same should be necessary, and as
permitted by Rule 94 of the Texas Rules of Civil Procedure, Defendant asserts the
following as to the claims and causes of action brought against it by Plaintiff:

1. As to Plaintiff s claims for violation of provisions of chapter 541 of the
Insurance Code and for breach of the common law duty of good faith and fair
dealing, Defendant alleges that a bona fide dispute exists, precluding liability and
Plaintiff’s recovery of damages under these extra-contractual theories. U.S. Fire Ins.
Co. v. Williams, 955 S.W.Zd 267, 268 (TeX. 1997); see Transp. Ins. Co. i). Moriel, 879
S.W.2d 10, 17 (Tex. 1994).

2. Pleading further and in the alternative, Defendant states that any of
Plaintiff s claims or causes based upon an alleged misrepresentation7 inducement or
reliance on a representation fails as a matter of law because the language of an
insurance policy controls and the insured has a duty to read and be familiar with
the terms of his own insurance policy. Herita,ge Mcmor of Blaylock Props., Inc. u.
Petersson, 677 S.W.2d 689, 691 (Tex. App._Dallas 1984, writ refd n.r.e.); Howard
U. Burlington Ins. Co., 347 S.W.Sd 783, 792 (TeX. App.-Dallas 2011, no pet.);
Garrison Contractors, Inc. U. Liberty Mut. Ins. Co., 927 S.W.2d 296, 300 (Tex. App.-_
El Paso 1996) (“[A]n insured has a duty to read the policy and, failing to do so,
Would be charged with knowledge of the policy terms and conditions.”), aff’d, 966

S.W.2d 482 (TeX. 1998). Further, an insured is bound to the terms of the policy

 

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whether he reads it or not. Howard u. Burlington Ins. Co., 347 S.W.3d at 792 (citing
Mcmion i). Security Nat’l Ins. Co., No. 13-01-248-CV, 2002 WL 34230861, *3 (Tex.
App.-_Corpus Christi Aug. 15, 2002, no pet.)); Ruiz U. Goi)’t Employees Ins. Co., 4
S.W.Sd 838, 841 (TeX. App.-El Paso 1999, no pet.).

3. Pleading further and in the alternative, Defendant alleges that
Plaintiff s claims that Defendant was negligent for “failing to properly investigate
the claim”, “failing to properly adjust the claim” and failing to pay the claim in a
timely manner” fail to plead a cause of action cognizable under Texas law.
Higginbotham U. State Farm Mut. Auto. Ins. Co., 103 F.3d 456, 460 (5th Cir. 1997).

4. Pleading further and in the alternative, Defendant alleges that
Plaintiffs claims that Defendant is liable to Plaintiff under the Texas Deceptive
Trade Practices-Consumer Protection Act fail because Plaintiff is not a “consumer”
entitled to the protections of that Act because on information and belief, Plaintiff is
a “business consumer that has assets of 325 million or more, or that is owned or
controlled by a corporation or entity with assets of $25 million or more.” TeX. Bus. &
Com. Code § 17.45(4).

5. Pleading further and in the alternative, Defendant asserts that under
Texas law, coverage under a policy of insurance cannot be created by waiver or
estoppel. Ulico Cas. Co. U. Allied Pilots Assn., 262 S.W.3d 773, 778-79 (TeX. 2008)
(citing Farmers Tex. County Mut. Ins. Co. U. Wilkinson, 601 S.W.2d 520 (Tex. Civ.

App._Austin 1980, writ ref’d n.r.e.)).

 

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6. Pleading further and in the alternative, Defendant asserts that if
Plaintiffs damages, if any, resulted from both covered and non-covered causes of
loss, Plaintiff bears the burden of segregating the damages which resulted from
covered causes of loss. See Nat’l Union Fire Ins. of Pittsburgh, Pa. U. Puget Plastics
Corp., 735 F.Supp.2d 650, 669 (S.D. TeX. 2010); All Saints Catholic Church U.
United Nat’l Ins. Co., 257 S.W.3d 800 (Tex. App.-~Dallas 2008, no pet.); Feiss v.
State Farm Lloyds, 392 F.3d 802, 807 (5th Cir, 2004).

7. Pleading further and in the alternative, Defendant asserts the
defenses of waiver and estoppel as provided under applicable law.

8. Pleading further and in the alternative, Defendant alleges that
discovery in this case may show that Plaintiff failed to mitigate its damages as
required by applicable law and Plaintiff s claims and causes of action may therefore
be barred in whole or in part.

9. Pleading further, and in the alternative, Defendant alleges that the
discovery in this case may show that Plaintiff failed to mitigate its damages as
required under the terms and provisions of the policy of insurance Defendant issued
to Plaintiff, and that any damages Plaintiff suffered by such failure to mitigate are
therefore barred.

10. Pleading further and in the alternative, Defendant asserts the
coverage language7 exclusions, limitations and definitions in the policy of insurance
Defendant issued to Plaintiff under number PHPK1362101, including but not

limited to the following:

 

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a. Building and Personorl Property Coverage Form (CP 00 10 10 00), as
modified by the Texas Changes endorsement (CP 01 42 01 11):

A.

Cove rage

We Wiii pay for direct physical loss of or damage to Covered
Property at the premises described in the Declarations caused
by or resulting from any Covered Cause of Loss.

3. Covered Causes Of Loss

See applicable Causes of Loss Form as shown in the
Declarations.

Exc|usions and Limitations

See applicable Causes of Loss Form as shown in the
Declarations.

Loss Conditions

The following conditions apply in addition to the Common Poiicy
Conditions and the Commercial Poiicy Conditions

3. Duties in The Event Of Loss Or Damage

a. You must see that the following are done in the event of
loss or damage to Covered Property:

(2) Give us prompt notice of the loss or damage.
include a description of the property involved

(3) As soon as possibie, give us a description of hoW,
When and Where the loss or damage occurred

(4) Take all reasonable steps to protect the Covered
Property from further damage and keep a record of
your expenses necessary to protect the Covered
Property, for consideration in the settlement of the
ciaim. This Wiii not increase the Limit of insurance.
However, We Wiii not pay for subsequent loss or
damage resulting from a cause of loss that is not a
Covered Cause of Loss, Also, if possibie, set the
damaged property aside and in the best possible
order for examination

(5) At our request, give us complete inventories of the
damaged and undamaged property. include
quantities, cost, vaiues, and amount of loss claimed

(6) As often as may be reasonably required, permit us
to inspect the property proving the loss or damage
and examine your books and records....

 

DEFENDANT’S ORIGINAL ANSWER PAGE 5

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(7) Send us a signed, sworn proof of loss containing
the information we request to investigate the claim.
You must do this within 91 days after our request
We will supply you with the necessary forms.

(8) Cooperate with us in the investigation or settlement
of the claim.

4. Loss Payment

a.

in the event of loss or damage covered by this
Coverage Form, at our option, we will either:

(1) Pay the value of lost or damaged property;

(2) Pay the cost of repairing or replacing the lost or
damaged property, subject to b. below;

(3) Take ali or any part of the property at an agreed or
appraised value; or

(4) Repair, rebuild or replace the property with other
property of like kind and quality, subject to b. beiow.

We will determine the value of lost or damaged property,
or the cost of its repair or replacement, in accordance
with the applicable terms of the Vaiuation Condition in
this Coverage Form or any applicable provision which
amends or supersedes the Vaiuation Condition.

The cost to repair, rebuild or replace does not include
the increased cost attributable to enforcement of any
ordinance or law regulating the construction1 use or
repair of any property.

b. Causes of Loss ~ Special Form (CP 10 30 10 00):

A. Covered Causes of Loss

When Special is shown in the Declarations, Covered Causes of
Loss means Risks Of Direct Physical Loss unless the loss is:

1. Exciuded in Section B., Exc|usions; or

2. Limited in Section C., Limitations;

that follow.

B. Exc|usions

2. We will not pay for loss or damage caused by or resulting
from any of the foilowing:

d.

(1) Wear and tear;

 

DEFENDANT’S ORIGINAL ANSWER PAGE 6

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(2) Rust, corrosion, fungus, decay, deterioration,
hidden or latent defect or any quality in property that
causes it to damage or destroy itself;

(3) Settiing, cracking, shrinking or expansion;

Continuous or repeated seepage or leakage of water that
occurs over a period of 14 days or more.

Neglect of an insured to use all reasonable means to
save and preserve property from further damage at and
after the time of loss.

We will not pay for loss or damage caused by or resulting
from any of the foilowing, 3.a. through 3.c. But if an
excluded cause of loss that is listed in 3.a. through 3.c.
results in a Covered Cause of Loss, we will pay for the loss
or damage caused by that Covered Cause of Loss.

C.

Faulty, inadequate or defective:
(1) Pianning, zoning, development surveying, siting;

(2) Design, specifications, workmanship, repair,
construction, renovation, remodeling, grading,
compaction;

(3) l\/iaterials used in repair, construction, renovation or
remodeling, or

(4) l\/iaintenance;

of part or ali of any property on or off the described
premises

C. Limitations

The following limitations apply to ali policy forms and endorse-
ments, unless otherwise stated:

1.

We will not pay for loss or damage to property, as described
and limited in this section. in addition, we will not pay for
any loss that is a consequence of loss or damage as
described and limited in this section.

C.

The interior of any building or structure, or to personal
property in the building or structure, caused by or
resulting from rain, snow, sleet, ice, sand or dust,
whether driven by wind or not, uniess:

(1) The building or structure first sustains damage by a
Covered Cause of Loss to its roof or walls through
which the rain, snow, ice, sand or dust enters; or

 

DEFENDAN'I"S ORIGINAL ANSWER PAGE 7

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(2) The loss or damage is caused by or results from
thawing of snow, sleet or ice on the building or
structure.

c. Commercial Property Conditions endorsement (CP 00 90 07 88),
modified by the Texas Changes endorsement (CP 01 42 03 12):

D. LEGAL ACT|ON AGA|NST US

a. Except as provided in Paragraph b., no one may bring a
legal action against us under this Coverage Part unless:

(1) There has been full compliance with ali of the terms of
the Coverage Part; and

(2) The action is brought within two years and one day from
the date the cause of action first accrues A cause of
action accrues on the date of the initial breach of our
contractual duties as alleged in the action.

b. With respect to loss or damage in the State of Texas caused
by windstorm or hail in the catastrophe area as defined by
the Texas insurance Code, no one may bring a legal action
against us under this Coverage Part unless:

(1) There has been full compliance with ali of the terms of
the Coverage Part; and

(2) The action is brought within the earlier of the following:

(a) Two years and one day from the date we accept or
reject the claim; or

(b) Three years and one day from the date of the loss
or damage that is the subject of the ciaim.

H. POLICY PER|OD, COVERAGE TERR|TORY
Under this Coverage Part:
1. VVe cover loss or damage commencing:
a. During the policy period shown in the Declarations....

d. Texas ~ Limitations On Fungus, Wet Rot, Dry Rot And Bacteria
endorsement (Form CP 01 62 06 02):
A. The following exclusion is added With respect to the loss or

damage addressed therein, this exclusion supersedes any other
exclusion which addresses fungus.

 

DEFENDANT’S ORIGINAL ANSWER PAGE 8
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“Fungus”, Wet Rot, Dry Rot And Bacteria

We will not pay for loss or damage caused directly or indirectly
by the presence, growth, proliferation, spread or any activity of
“fungus”, wet or dry rot or bacteria Such loss or damage is
excluded regardless of any other cause or event that contributes
concurrently or in any sequence to the loss.

But if “fungus”, wet or dry rot or bacteria results in:

1. A “specified cause of loss”, we will pay for the loss or
damage caused by that “specified cause of loss”, if the
Causes Of Loss - Special Form applies;

2. A Covered Cause of Loss, we will pay for the loss or
damage caused by that Covered Cause of Loss, if the
Cause of Loss - Basic Form, Covered Cause of Loss -
Broad Form or Standard Property Poiicy applies.

This exclusion does not apply:

1. When “fungus”, wet or dry rot or bacteria results from fire or
iightning; or

2. To the extent that coverage is provided in the Additional
Coverage - Limited Coverage For “Fungus”, Wet Rot, Dry
Rot And Bacteria with respect to loss or damage by a cause
of loss other than fire or lightning.

B. The following exclusion replaces any exclusion pertaining to
continuous or repeated seepage or leakage of water; and
supersedes any other exclusion preclusion of coverage or
exception to an exclusion pertaining to the leakage or discharge
of water or steam from a system or appliance

We will not pay for loss or damage caused by or resulting
from continuous or repeated seepage or leakage of water, or
the presence or condensation of humidity, moisture or vapor,
that occurs over a period of 14 days or more.

C. The following is added:

Additional Coverage ~ Limited Coverage For “Fungus”, Wet
Rot, Dry Rot And Bacteria

1. The coverage described in C.2. and C.6. only applies when
the “fungus”, wet or dry rot or bacteria is the result of one or
more of the following causes that occurs during the policy
period and only if all reasonable means were used to save
and preserve the property from further damage at the time of
and after that occurrence

a. A “specified cause of loss” other than fire or iightning”, if
the Causes Of Loss - Special Form applies;

 

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b. A Covered Cause of Loss other than fire or iightning”, if
the Cause of Loss - Basic Form, Covered Cause of
Loss - Broad Form or Standard Property Policy applies.

2. We will pay for loss or damage by “fungus”, wet or dry rotor
bacteria As used in this Limited Coverage, the term loss or
damage means:

a. Direct physical loss or damage to Covered Property
caused by “fungus”, wet or dry rot or bacteria, including
the cost of removal of the “fungus”, wet or dry rot or
bacteria;

b. The cost to tear out and replace any part of the building
or other property as needed to gain access to the
“fungus”, wet or dry rot or bacteria; and

c. The cost of testing performed after removal, repair,
replacement or restoration of the damaged property is
completed provided there is a reason to believe that
“fungus”, wet or dry rot or bacteria are present

3. The coverage described under C.2. of this Limited Coverage
is limited to $15,000. Regardless of the number of claims,
this limit is the most we will pay for the total of ali loss or
damage arising out of all occurrences described in C.1.,
which take place in a 12-month period (starting with the
beginning of the present annual policy period). With respect
to a particular occurrence of loss which results in “fungus”,
wet or dry rotor bacteria, we will not pay more than a total of
$15,000 even if the “fungus”, wet or dry rot or bacteria
continues to be present or active, or recurs, in a later policy
penod.

11. Pleading further and in the alternative, Defendant asserts the other
coverage language, exclusions, limitations, definitions and defenses reflected in the
policy of insurance Defendant issued to Plaintiff.

12. Pleading further and in the alternative, Defendant would show that
Plaintiffs damages, if any, are capped by the limits reflected for such amounts
alleged in the policy of insurance Defendant issued to Plaintiff.

13. Pleading further and in the alternative, Defendant pleads the

applicability of the excessive demand doctrine, which precludes Plaintiff from

 

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recovering the fees and expenses of its attorney in this action. See Fi)i,olloiy i). Cai)e,

611 S.W.2d 57, 58 (Tex. 1981).

PRAYER
Based on the foregoing, Defendant Philadelphia Indemnity Insurance
Company, having fully answered, prays that upon final hearing and trial, the
claims and causes of action Plaintiff Motocicletta, Inc. has brought against such
Defendant be dismissed with prejudice, that Plaintiff take nothing by its claims and
causes of action, and that such Defendant obtain such other relief and further relief
to which it may be justly entitled

Respectfully submitted,

KANE RUSSELL COLEMAN LOGAN PC

By: /s/ William R. Pilat
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CERTIFICATE OF SERVICE

I hereby certify that on September 5, 2017, a true and correct copy of the
foregoing Original Answer was served upon all other counsel of record, as listed
below, by filing this instrument with the electronic service provider for the Tarrant
County District Court:

Timothy l\/[. Hoch
Hocii LAW FiRivi, P.C.
5616 l\/Ialvey Avcnuc
Fort Wortli, Texas 76l07
/s/ William R. Piloit
William R. Pilat

 

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EXHIBIT C

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CAUSE NO. 348-294057-17

MoTocIcLETTA, INo., § IN THE DISTRICT coURT
Plaintiff §
vs. § TARRANT coUNTY, TEXAS
_ PHILADELPHIA INDEMNITY §
INSURANCE coMPANY, §
Defendant. § 348TH JUDICIAL DISTRICT

 

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
COMPANY’S NOTICE OF REMOVAL TO FEDERAL COURT

 

TO THE HONORABLE JUDGE OF THIS COURT:

PLEASE TAKE NOTICE that pursuant to federal laW, Philadelphia
Indemnity Insurance Company, a Defendant in the above-numbered and
entitled cause, has filed With the Clerk of the United States District Court for the
Northern District of Texas, Fort Worth Division, a Notice of Remoi)al, a copy of
which is attached to and filed with this Notice as Exhibit “A,” and that this action
is removed to the United States District Court for the Northern District of Texas for
trial as of this date, September 7, 2017, This Court is respectfully requested to take
no further action in this matter, unless and until such time as the action may be

remanded by order of the United States District Court.

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Respectfully submitted,
KANE RUSSELL COLEMAN LOGAN PC

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ATTORNEYS FOR DEFENDANT PHILADELPHIA
INDEMNITY INSURANCE COMPANY

CERTIFICATE OF SERVICE

l certify that on September 7 , 2017, , a true and correct copy of the foregoing
Notice of Remoual to Federal Court was forwarded to all other counsel of record, as
listed below, via e-Filing with the electronic service provider for the Collin County
District Courts:

Timothy M. Hoch

HocH LAW FIRM, P.C.
5616 l\/lalvey Avenue
Fort Worth, Texas 76107

/s/ William R. Pilat
William R. Pilat

 

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE CoMPANY’s
NoTICE oF REMoVAL To FEDERAL COURT PAGE 2

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